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AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT                                                    FILED
                                                             for the
                                                                                                                    Jul 31 2020
                                                 Northern District
                                               __________  DistrictofofCalifornia
                                                                        __________                                SUSANY. SOONG
                                                                                                             CLERK, U.S. DISTRICT COURT
                                                                                                          NORTHERN DISTRICT OF CALIFORNIA
                  United States of America                      )                                                  SAN FRANCISCO
                             v.                                 )
                                                                )       Case No. 3:20-mj-71049 MAG
                         Nima Fazeli                            )
                                                                )
                                                                )
                                                                )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  July 15, 2020              in the county of          San Francisco                    in the
     Northern          District of California & elsewhere , the defendant(s) violated:

            Code Section                                                  Offense Description
18 U.S.C. § 1030(a)(2)(C)                    Count One: Computer Intrusion

                                             Max. Penalties: 5 years in prison; $250,000 fine; 3 years of supervised
                                             release; $100 special assessment; restitution; forfeiture




         This criminal complaint is based on these facts:
The attached affidavit of U.S. Secret Service SA John Szydlik




         ✔ Continued on the attached sheet.
         ’

                      Approved as to Form:                                            /s/ J Szydlik via telephone
                      ______/s/______                                                     Complainant’s signature
                      AUSA Dawson
                                                                                     J. Szydlik, Special Agent, FBI
                                                                                           Printed name and title

Sworn to before me by telephone.


Date:             07/30/2020
                                                                                             Judge’s signature

City and state:                  San Francisco, California                      Hon. Sallie Kim, U.S. Magistrate Judge
                                                                                           Printed name and title
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UNITED STATES DISTRICT COURT                            )

                                                       )

NORTHERN DISTRICT OF CALIFORNIA                         )



                  AFFIDAVIT IN SUPPORT OF APPLICATION FOR AN
                  ARREST WARRANT AND CRIMINAL COMPLAINT



       I, John A. Szydlik, being duly sworn, state as follows:

                                           OVERVIEW

       1.       This affidavit is made in support of an issuance of an arrest warrant and a one-count

criminal complaint alleging that Nima FAZELI, also known as “Rolex,” “Rolex#0373,”

“Rolex#373,” and “Nim F,” committed: Computer Intrusion, i.e., intentionally accessing a

computer without authorization or exceeding authorized access, and thereby obtaining information

from a protected computer, in violation of 18 U.S.C. § 1030(a)(2)(C) and aiding and abetting, in

violation of 18 U.S.C. § 2. For the reasons set forth below, I believe there is probable cause to

believe Nima FAZELI has committed the foregoing violations of federal law.

       2.       The facts in this affidavit come from my personal observations, my training and

experience, information from records and databases, and information obtained from other agents,
law enforcement personnel, and witnesses. This affidavit does not set forth all of my knowledge

about this matter; it is intended to only show that there is sufficient probable cause for the requested

arrest warrant and complaint.

                                   AFFIANT BACKGROUND

       3.       I am an investigative or law enforcement officer of the United States, within the

meaning of 18 U.S.C. § 2510(7), and am empowered by law to conduct investigations of, and to

make arrests for, offenses enumerated in 18 U.S.C. § 1030, among others.

       4.       I am employed as a Special Agent with the United States Secret Service (“USSS”)

in Washington, D.C. and have been so employed since 2007. I am sworn and empowered to
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investigate criminal activity involving violations of federal law. I am currently assigned to USSS’s

Criminal Investigative Division, Cyber Intelligence Section, which investigates crimes carried out

using computers or computer networks. I have participated in numerous interviews of witnesses

and have been the affiant of federal search warrants involving suspected criminal violations where

records, of the type involved in this investigation, were seized. My investigative experience

includes, but is not limited to interviewing subjects, targets and witnesses; executing search and

arrest warrants; handling and supervising confidential human sources; conducting surveillance;

and analyzing phone records and financial records.
                                    APPLICABLE STATUTE

       5.       Title 18, United States Code, Section 1030(a)(2)(C), in relevant part, makes it a

crime for an individual to intentionally access a computer without authorization or exceed

authorized access, and thereby obtain information from a protected computer. Under Section

1030(c)(2)(B), the offense is a felony if “committed for purposes of commercial advantage or

private financial gain,” “committed in furtherance of any criminal or tortious act in violation of

the Constitution or laws of the United States or of any State,” or if “the value of the information

obtained exceeds $5,000.” A “protected computer” means a computer that is used in or affecting

interstate or foreign commerce or communication (as defined by 18 U.S.C. § 1030(e)(2)(B)). Title

18, United States Code, Section 2, in relevant part, provides that whoever aids, abets, counsels,

commands, induces, or procures the commission of a federal offense is punishable as a principal.

                                          DEFINITIONS

       6.       I know from my training and experience as a Special Agent with the USSS that the

following definitions apply to the activity discussed in this affidavit:

       7.       Server: A server is a computer that provides services to other computers. Examples

include web servers which provide content to web browsers and email servers which act as a post

office to send and receive email messages.

       8.       Domain: “Domain” is short for “domain name.” Under 18 U.S.C. § 3559(g)(2)(B),

the definition of “domain name” is based on the Trademark Act, under 15 U.S.C. § 1127. Under
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the Trademark Act, “domain name” means “any alphanumeric designation which is registered with

or assigned by any domain name registrar, domain name registry, or other domain name

registration authority as part of an electronic address on the Internet.” A “subdomain” was a

subdivision of a domain.”

       9.       Domain Name System: The Domain Name System (“DNS”) is a hierarchical and

decentralized Internet service that translated domain names into Internet Protocol (“IP”) addresses.

A “top-level domain” is the last segment (i.e., suffix) in a domain (e.g., “.com” or “.net”) associated

with the highest level of the DNS.
       10.      Registrar & Registrant: “Registration” is the act of reserving a domain on the

Internet for a specific time period. In order to do so, the “domain registrant” would usually apply

online to a company that managed the reservation of Internet domain names, known as a registrar.

A “registrar” operates in accordance with the guidelines of the designated organizations that

managed top-level domains, known as registries. The domain name registrant is bound by the

terms and conditions of the registrar with which it registered its domain name, for instance

adhering to a certain code of conduct or indemnifying the registrar and registry against any legal

or civil action taken as a result of use of the domain name.

       11.      Bitcoin: Bitcoin is a type of virtual currency, circulated over the Internet as a form

of value. Bitcoin was not issued by any government, bank, or company, but rather were generated

and controlled through computer software operating via a decentralized, peer-to-peer network.

Bitcoin is just one of many varieties of virtual currency.

       12.      Bitcoin exchangers: Exchangers are persons or entities in the business of

exchanging fiat currency (currency that derives its value from government regulation or law, such

as the U.S. dollar) for bitcoin, and exchanging bitcoin for fiat currency. When a user wishes to

purchase bitcoin from an exchanger, the user will typically send payment in the form of fiat or

other convertible virtual currency to an exchanger, usually via wire or ACH, for the corresponding

number of bitcoin based on a fluctuating exchange rate. The exchanger, often for a commission,

will then typically attempt to broker the purchase with another user of the exchange that is trying
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to sell bitcoin, or, in some instances, will act as the seller itself. If the exchanger can place a buyer

with a seller, then the transaction can be completed. Based on my training and experience, bitcoin

exchanges send confirmation emails to the email account used to register the member exchange

account for each deposit, trade, and/or withdraw bitcoin and fiat transactions conducted by the user

on the exchange.

        13.     Bitcoin address: Bitcoin addresses are the particular virtual locations to which

bitcoin are sent and received. A Bitcoin address is analogous to a bank account number and was

represented as a 26-to-35-character-long case-sensitive string of letters and numbers.
        14.     Private Key: Each bitcoin address is controlled through the use of a unique

corresponding private key, a cryptographic equivalent of a password needed to access the address.

Only the holder of an address’s private key can authorize a transfer of Bitcoin from that address to

another Bitcoin address.

        15.     Bitcoin Wallet: A bitcoin wallet is an application that holds a user’s bitcoin

addresses and private keys. A bitcoin wallet also allows users to send, receive, and store bitcoins.

It is usually associated with a bitcoin address.

        16.     Blockchain: All bitcoin transactions are recorded on what is known as the

blockchain. The blockchain is essentially a distributed public ledger that keeps track of all bitcoin

transactions, incoming and outgoing, and updates approximately six times per hour. The

blockchain records every bitcoin address that has ever received bitcoin and maintains records of

every transaction and all the known balances for each bitcoin address. As a result, forensic

analytical tools are able to review the blockchain, identify which bitcoin addresses are related and

owned by the same individual or entity (called a cluster), and calculate the total number of bitcoins

in all of these related bitcoin addresses.

        17.     Cluster: A cluster is a collection of bitcoin addresses that can be attributed to one

person or entity through various means, including co-spending, in order to determine the number

of bitcoin held by an individual.     In other words, a cluster is an estimate of all of the bitcoin

addresses (and its bitcoins) contained in a user’s bitcoin wallet or wallets. Because the blockchain
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records every bitcoin address, and maintains records of every transaction, and all the known

balances for each bitcoin address, forensic computer experts are able to create clustering

algorithms that examine the entire history of bitcoin transactions recorded on the blockchain and

make logical connections between different bitcoin addresses.

            FACTS ESTABLISHING PROBABLE CAUSE IN SUPPORT OF THE
                 ARREST WARRANT AND CRIMINAL COMPLAINT

       A.      TWITTER HACKED ON JULY 15, 2020

       18.     Twitter, Inc. (“Twitter”) operates a microblogging and social networking service

utilized by various high-profile individuals, including politicians, celebrities, and musicians such

as Bill Gates, Elon Musk, Kanye West, Joe Biden, Barack Obama, and U.S. President Donald

Trump. Many such high-profile individuals have “verified” their accounts by proving to Twitter

they are indeed the real person named on the account.

       19.     Per statements made by Twitter, numerous media reports, public victim statements,

and through this investigation, on July 15, 2020, multiple high-profile verified accounts were

compromised, including accounts belonging to Bill Gates, Elon Musk, Kanye West, Joe Biden,

Barack Obama, Jeff Bezos, Mike Bloomberg, Warren Buffett, Benjamin Netanyahu, and Kim

Kardashian.    Accounts belonging to cryptocurrency exchanges, such as Binance, Gemini,

Coinbase, Bitfinex, and AngeloBTC were also compromised, as were prominent companies like

Apple Inc. (“Apple”) and Uber Technologies Inc. (“Uber”). Per a statement made by Twitter on

July 16, 2020, via Twitter’s communications account @TwitterSupport, approximately 130

Twitter accounts were affected in the hack: “Based on what we know right now, we believe

approximately 130 accounts were targeted by the attackers in some way as part of the incident. For

a small subset of these accounts, the attackers were able to gain control of the accounts and then

send Tweets from those accounts.”
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          20.     According to numerous media reports, and Twitter’s own statements, the malicious

actor(s) gained access to the Twitter accounts by compromising a Twitter employee’s account. In

a statement made by Twitter on July 15, 2020, via @TwitterSupport, Twitter stated, “We detected

what we believe to be a coordinated social engineering attack by people who successfully targeted

some of our employees with access to internal systems and tools.”

          21.     The actor(s) then used their access to the compromised Twitter accounts to post

messages directing victims to send cryptocurrency to accounts, including, and especially, the

bitcoin      address “bc1qxy2kgdygjrsqtzq2n0yrf2493p83kkfjhx0wlh”           (hereinafter, the “Scam

Address”).       Two other bitcoin addresses were also posted on some Twitter accounts:

“bc1q0kznuxzk6d82e27p7gplwl68zkv40swyy4d24x”                                                       and

“bc1qwr30ddc04zqp878c0evdrqfx564mmf0dy2w39l”,                which    both received approximately

$6,700 in 100 transactions. However, the primary bitcoin address known to be directly associated

with the Twitter hack is the Scam Address.

          22.     On some of the Twitter posts, the actor(s) provided the actual bitcoin address, while

on others the posts guided victims to a website hosted at the domain cryptoforhealth.com, which

also provided the same bitcoin address. In all of these cases, the Twitter postings said that

individuals who sent any bitcoin to the aforementioned address would receive double the bitcoin

in return.
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        23.     Below are screen captures of some of these Twitter posts from the compromised

accounts belonging to Elon Musk, Bitcoin, Apple Kanye West, Bill Gates, and Uber:1




        24.     Apple confirmed to the FBI on July 16, 2020 that it did not post the message above.

Numerous other victims—including Bill Gates—made public statements that their Twitter

accounts had also been hacked, and that they did not write or post the messages directing

individuals to send them bitcoin.




1
 See Sergiu Gatlan, Scammers hacked Twitter and hijacked accounts using admin tools, BLEEPINGCOMPUTER (Jul.
16, 2020, 10:20 AM), https://www.bleepingcomputer.com/news/security/scammers-hacked-twitter-and-hijacked-
accounts-using-admin-tool/.
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        25.     Twitter messages were posted on July 15, 2020 to Twitter accounts belonging to

cryptocurrency exchanges Kucoin, Coinbase, Gemini, and Binance, which directed users to follow

the link for a website hosted at the domain cryptoforhealth.com. 2




        26.     Coinbase confirmed to the FBI and IRS-CI on July 16, 2020, that it did not post the

message above.

        27.     The website hosted at cryptoforhealth.com led to a webpage that, like the other

Twitter posts, directed individuals to send bitcoin to the bc1qxy address, in exchange for twice the

amount of bitcoin deposited in return.




2
  See Danny Nelson, Twitter Hack Takes Down Joe Biden, Elon Musk Accounts in Widespread Bitcoin Scam Attack,
COINDESK, https://www.coindesk.com/hackers-take-over-prominent-crypto-twitter-accounts-in-simultaneous-attack
(last visited Jul. 17, 2020, 4:08 PM).
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         28.      Though the cryptoforhealth.com website had been taken down as of July 16, 2020,

the below image from the website was taken from an archive of the site on the “Wayback

Machine” 3:




         29.      As described below, the actor(s)’ fraud campaign was successful, as the bitcoin

account received hundreds of incoming transfers of bitcoin. No bitcoin was ever returned, much

less doubled.

         30.      I believe that the actors(s) who controlled the cryptoforhealth.com domain and the

Scam Address hacked popular, and trusted, verified Twitter accounts for high-profile individua ls

and companies—including those belonging to cryptocurrency exchanges. I further believe that the

same actor(s) used those trusted, now hacked, accounts to post messages, reaching those Twitter

accounts’ followers, with an offer to double-their bitcoin—both directly, and via a message posted


3
      Archive      of     cryptoforhealth.com       on       July       15,     2020,   W AYBACK   M ACHINE,
https://web.archive.org/web/*/cryptoforhealth.com (last visited Jul. 16, 2020).
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on the website hosted at the domain cryptoforhealth.com—in order to entice individuals into

sending bitcoin to the Scam Address. The individual(s) then stole the bitcoin, and transferred it out

of the account. (Further below, I will refer to this scheme as the “Bitcoin Scam.”)

         B.       TWITTER HACK PROCEEDS TRANSFERRED TO THE PRIMARY
                  SCAM ADDRESS
         31.      Blockchain analysis reveals that between July 15, 2020, when the hack of the

verified Twitter accounts occurred, and July 16, 2020, the bitcoin wallet associated with the Scam

Address had conducted approximately 426 transfers.

         32.      Approximately 415 of those transfers consisted of transfers from other bitcoin

addresses into the Scam Address account, totaling approximately                             12.86 bitcoin, worth

approximately $117,457.58 as of July 16, 2020 (at a rate of $9,133.56 per bitcoin). Eleven (11) of

those transfers were from the wallet associated with the Scam Address to other bitcoin addresses,

siphoning off approximately 99.74% of the bitcoin deposited, or 12.83 bitcoin, worth $117,183.57 ,

leaving a remaining balance of $274.01 in the account. No bitcoin was returned to the victims.

         33.      In my training and experience, individuals will shuffle bitcoin from one wallet to

another in order to obfuscate its origin. Based on my training and experience, I believe the above-

described transfers out of the origin bitcoin wallet to other addresses were intended to conceal the

origin of the funds.

         C.       KIRK#5270 SOLD ACCESS TO HACKED TWITTER ACCOUNTS

         34.      From the investigation, I have probable cause to believe that the individual utilizing

the Discord moniker “Kirk#5270,” played a central role in the compromise of Twitter on July 15,

2020. Pursuant to a search warrant signed by U.S. Magistrate Judge Sallie Kim in the Northern

District of California on July 17, 2020, Discord, Inc. 4 provided the content of Discord messaging

accounts, which included Discord chats between an individual utilizing the username “Kirk#5270”

4
 Discord is a free voice over internet protocol (“VoIP”) application and digital distribution platform. It was initially
designed for the video gaming community but has since expanded to a wider audience. Discord offers chat channels
where users can communicate via text messages, voice, and video.
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and others, in which “Kirk#5270” represented that he/she could reset, swap, and control any

Twitter account at will, and would do so in exchange for bitcoin transfers.

          35.    Among the content provided by Discord was a chat from July 15, 2020, between

“Kirk#5270” and other Discord users in which “Kirk#5270” demonstrated proof of access to a

wide variety of Twitter accounts by providing images of Twitter’s internal administrative tool for

accessing those accounts. For example, “Kirk#5270” provided images of administrator-leve l

access to Twitter accounts “@bumblebee,” “@sc,” “@vague,” and “@R9,” among many others.

          36.    Based on the chats that I have reviewed, it appears that “Kirk#5270” utilized other

Discord users as proxies, or middle-men, to help “Kirk#5270” find buyers for Twitter usernames

in exchange for a fee.

          D.     ROLEX#0373 SERVED AS A PROXY FOR KIRK#5270 AND SOLD
                 TWITTER ACCOUNTS

          41.    Among the content provided by Discord was a series of chats on July 15, 2020

between “Kirk#5270” and an individual who used the Discord moniker “Rolex#0373.”

“Kirk#5270” stated, “I work for Twitter. I can claim any @ for you.” 5 Based on my training and

experience, I believe that this reference by “Kirk#5270” was to being able to take control of any

Twitter account and transfer control to “Rolex#0373” or others. “Rolex#0373” asked

“Kirk#5270” to “Prove it,” in response to which “Kirk#5270” asked for “Rolex#0373’s” Twitter

handle. “Rolex#0373” responded, providing the Twitter handle “viennacat921,” and

“Kirk#5270” replied by providing a screenshot of an internal Twitter panel for the Twitter handle

“@viennacat921” with the associated email and phone number for the Twitter account. The

following is an excerpt of the Discord chat:


            Date and Time                   Message Sender                           Message
    2020-07-15 17:20:33.243000       Rolex#0373                          Yo
    2020-07-15 17:28:51.135000       Kirk#5270                           Hey

5
 Based on my understanding of various social media platforms, the symbol “@’ immediately precedes a username.
The reference to “claim any @ for you” is generally a reference to having access to a social media username.
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 2020-07-15 17:28:55.093000      Kirk#5270                        I work for twitter
 2020-07-15 17:29:02.307000      Kirk#5270                        I can claim any @ for you.
 2020-07-15 17:29:03.448000      Kirk#5270                        Let me know.
 2020-07-15 17:29:06.470000      Kirk#5270                        Don't tell anyone.
 2020-07-15 17:29:17.161000      Rolex#0373                       Lol
 2020-07-15 17:29:25.103000      Rolex#0373                       Prove it
 2020-07-15 17:29:25.604000      Kirk#5270                        Give me your twitter @
 2020-07-15 17:29:50.665000      Kirk#5270                        I'll pull it up


 2020-07-15 17:30:23.536000      Kirk#5270                        Give me your twitter @
 2020-07-15 17:30:27.461000      Rolex#0373                       viennacat921
 2020-07-15 17:30:31.573000      Kirk#5270                        Yours?
 2020-07-15 17:30:33.221000      Rolex#0373                       Yes

       42.     Upon receiving the image of the internal tool showing information associated

with the “@viennacat921” Twitter moniker, “Rolex#0373” asked whether “Kirk#5270” could

change information on the account. “Kirk#5270” clarified that he/she could “update any info”

and “delete account data.” “Rolex#0373” then asked “Kirk#5270” how much it would cost, and

“Kirk#5270” responded that it depended on the Twitter moniker (“@”). “Rolex#0373” offered

to serve as a “proxy” for “Kirk#5270” and advertise on various internet forums, stating, “I could

also proxy sell requests for you on forums.” “Kirk#5270” responded that “Rolex#0373” should

“do that” and to “post a thread.” The following is an excerpt of the Discord chat:


         Date and Time                   Message Sender                       Message
 2020-07-15 17:31:09.628000      Rolex#0373                       Damn
 2020-07-15 17:31:20.276000      Rolex#0373                       So you can change info?
 2020-07-15 17:31:27.301000      Kirk#5270                        Yes can update any info
 2020-07-15 17:31:31.065000      Kirk#5270                        And I delete account data
 2020-07-15 17:31:36.674000      Kirk#5270                        So no recovery
 2020-07-15 17:31:37.784000      Kirk#5270                        Or logs
 2020-07-15 17:31:40.224000      Rolex#0373                       How much for requests
 2020-07-15 17:31:47.193000      Kirk#5270                        Depends on @
 2020-07-15 17:31:49.858000      Kirk#5270                        What @ do you want rn
 2020-07-15 17:32:20.154000      Rolex#0373                       I could be interested in a few
                                                                  depending on the price
 2020-07-15 17:32:25.234000      Rolex#0373                       None of them would be super
                                                                  OG
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 2020-07-15 17:33:36.308000      Rolex#0373                       I could also proxy sell requests
                                                                  for you on forums
 2020-07-15 17:33:43.664000      Kirk#5270                        Okay
 2020-07-15 17:33:44.377000      Kirk#5270                        Do that
 2020-07-15 17:33:45.717000      Kirk#5270                        Post a thread
 2020-07-15 17:34:00.540000      Rolex#0373                       Alr

       43.     During the course of the chat between “Rolex#0373” and “Kirk#5270,”

“Kirk#5270” provided “Rolex#0373” with access to the Twitter handle “@foreign” in exchange

for $500. “Kirk#5270” asked “Rolex#0373” for his email address in order to reset the Twitter

account associated with the “@foreign” handle, and “Rolex#0373” provided the email

“chancelittle10@gmail.com.” “Kirk#5270” responded by providing a bitcoin address:

“1Ai52Uw6usjhpcDrwSmkUvjuqLpcznUuyF” (hereinafter, the “Kirk#5270 Address”) to

“Rolex#0373.” Based on my training and experience, I understand that “kirk#5270” was offering

to change the email address on the “@foreign” handle to “chancelittle10@gmail.com” in

exchange for a payment to the Kirk#5270 Address. “Rolex#0373” responded by stating that he

had not agreed to “buy it” but asked if he could “keep it” in exchange for “Rolex#0373” selling

Twitter handles for “Kirk#5270.” The following is an excerpt of the Discord chat:


         Date and Time                  Message Sender                         Message
 2020-07-15 17:43:23.831000      Kirk#5270                        500 for foreign
 2020-07-15 17:43:30.176000      Kirk#5270                        lowest ill go
 2020-07-15 17:43:30.964000      Kirk#5270                        for this
 2020-07-15 17:43:36.017000      Kirk#5270                        I'll update them eail
 2020-07-15 17:43:39.216000      Kirk#5270                        that you give me
 2020-07-15 17:43:53.633000      Rolex#0373                       Check the last login date
 2020-07-15 17:43:54.438000      Rolex#0373                       for it
 2020-07-15 17:44:27.132000      Kirk#5270
 2020-07-15 17:44:32.993000      Kirk#5270                        1 year ago
 2020-07-15 17:45:58.930000      Rolex#0373                       Can't even be swapped
 2020-07-15 17:46:03.207000      Kirk#5270                        Yes
 2020-07-15 17:46:03.725000      Kirk#5270                        Lol
 2020-07-15 17:46:04.079000      Kirk#5270                        Bro
 2020-07-15 17:46:24.962000      Rolex#0373                       Just sounds too good to be true
 2020-07-15 17:46:29.439000      Kirk#5270                        Ok
 2020-07-15 17:46:31.039000      Kirk#5270                        Give me your email
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 2020-07-15 17:46:40.408000       Rolex#0373                       chancelittle10@gmail.com
 2020-07-15 17:47:22.154000       Kirk#5270                        Reset through forgot
 2020-07-15 17:48:15.018000       Rolex#0373                       I'm in
 2020-07-15 17:48:28.318000       Kirk#5270                        1Ai52Uw6usjhpcDrwSmkUvjuqL
                                                                   pcznUuyF
 2020-07-15 17:48:32.257000       Rolex#0373                       Bruh
 2020-07-15 17:48:54.616000       Rolex#0373                       I didn't say I'd buy it lol
 2020-07-15 17:49:02.221000       Rolex#0373                       Just lemme keep it and I'll open
                                                                   the service?
 2020-07-15 17:49:11.572000       Rolex#0373                       And we can charge like 1k a req
 2020-07-15 17:49:16.667000       Kirk#5270                        Ok

       44.     During the chat between “Kirk#5270” and “Rolex#0373,” “Kirk#5270” directed

“Rolex#0373” to post a thread on online forums advertising Twitter handles and to “start hitting

up your contacts.” “Kirk#5270” and “Rolex#0373” then discussed pricing for the sale of

unauthorized access to the Twitter accounts. “Kirk#5270” and “Rolex#0373” agreed on $1,000

per account at a minimum for non-“OG” names and $2,500 minimum for “OG,” names, referring

to short “original” or “OG” Twitter handles that are seen as status symbols and are desirable

handles. “Rolex#0373” provided “Kirk#5270” with a hyperlink to a thread on the OGUsers.com

(“OGUsers”) forum for advertising the sale of Twitter handles. Based on my training and

experience, the OGUsers forum is abused by criminal networks, as further discussed below. The

following is an excerpt of the Discord chat:


         Date and Time                   Message Sender                       Message
 2020-07-15 17:49:16.667000       Kirk#5270                        Ok
 2020-07-15 17:49:17.596000       Kirk#5270                        Open it now
 2020-07-15 17:49:18.155000       Kirk#5270                        Then
 2020-07-15 17:49:20.616000       Rolex#0373                       Alr
 2020-07-15 17:49:24.329000       Rolex#0373                       On ogu or hf
 2020-07-15 17:49:25.870000       Kirk#5270                        And start hitting up your
                                                                   contacts
 2020-07-15 17:49:26.759000       Kirk#5270                        Both
 2020-07-15 17:49:32.067000       Rolex#0373                       Ight
 2020-07-15 17:49:48.095000       Rolex#0373                       1k per req?
 2020-07-15 17:49:51.597000       Kirk#5270                        No
 2020-07-15 17:49:51.925000       Rolex#0373                       Active & inactive?
 2020-07-15 17:49:52.642000       Kirk#5270                        Appraisal
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 2020-07-15 17:49:55.667000       Kirk#5270                         Yes
 2020-07-15 17:49:56.855000       Rolex#0373                        Ight
 2020-07-15 17:54:35.673000       Rolex#0373                        I'm gonna say 1k minimum
 2020-07-15 17:54:38.559000       Rolex#0373                        cool?
 2020-07-15 17:54:40.049000       Kirk#5270                         Yep
 2020-07-15 18:07:55.181000       Rolex#0373                        https://ogusers.com/Thread-
                                                                    Twitter-Username-Requests--
                                                                    618499
 2020-07-15 18:08:33.500000       Rolex#0373                        I put 1k minmimum
 2020-07-15 18:08:36.422000       Rolex#0373                        Let's say that's for non-og
 2020-07-15 18:08:39.918000       Rolex#0373                        2.5k minimum for og?
 2020-07-15 18:09:47.411000       Kirk#5270                         1k min for all
 2020-07-15 18:09:48.176000       Kirk#5270                         is fine
 2020-07-15 18:09:54.081000       Rolex#0373                        Alr

       45.     In summary, based on the facts described above, as well as my training and

experience, I believe that “Rolex#0373” acted as a broker for “Kirk#5270,” and advertised the sale

of compromised Twitter accounts for “Kirk#5270” and procured buyers for “Kirk#5270.”

       E.      DISCORD USER “ROLEX#0373” IDENTIFIED AS “ROLEX” ON
               OGUSERS FORUM
       46.     OGUsers is an online forum that has been abused by criminal networks who trade

in stolen social media credentials. On April 2, 2020, the administrator of OGUsers publicly

announced the OGUsers website was successfully hacked. Shortly after the announcement, a rival

criminal hacking forum publicly released a link to download the OGUsers database, claiming it

contained all of the forum’s user information. The publicly released database has been available

on various websites since approximately April 2020. On or about April 9, 2020, the FBI obtained

a copy of this database. The FBI found that the database included all public forum postings, private

messages between users, IP addresses, email addresses, and additional user information. Also

included for each user was a list of the IP addresses that user used to log into the service along

with a corresponding date and timestamp. A review of the OGUsers database reveals that it

contains communications up until March 31, 2020 and are consistent with other sources of data

that overlap it. To my knowledge there have been no instances where the OGUsers database

appears to have been altered by whomever leaked it.
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       47.    Through a search of the OGUsers database, I identified an individual with the

username     “Rolex”   who     registered   on    the   forum    with   the    email   address

“damniamevil20@gmail.com” and accessed the account from IP address 104.51.181.242 which

appears to resolve to Florida. On March 30, 2020, on the OGUsers forum, “Rolex” told another

individual, “Confirming I’m Rolex#0373.” I believe that “Rolex” was referring to his Discord

account, “Rolex#0373”. Additionally, as demonstrated in the below screenshot of “Rolex’s”

profile on OGUsers from July 30, 2020, he provides the Discord user name “Rolex#0373.”




       48.    On several occasions in the OGUsers forum, “Rolex” advertised a “Currency

Exchange Service” where he claimed to be able to convert Bitcoin to the Paypal online payments

service and various cyptocurrencies.   Rolex also advertised the sale of various social media

accounts.

       49.    Additionally, through a review of the OGUsers database, I am aware that “Rolex”

provided the email address “chancelittle10@gmail.com” as a method of sending him PayPal

payments on multiple occasions to multiple users of the OGUsers forum in 2018. Notably, this is

the same email address that “Rolex#0373” provided “Kirk#5270” in order to obtain access to the

Twitter handle “@foreign” during the July 15, 2020 hack of Twitter.
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       F.        ROLEX#0373 and “ROLEX” LINKED TO NIMA FAZELI

       50.       There is probable cause to believe that Nima FAZELI is the user of Discord

account “Rolex#0373” and OGUsers account “Rolex,” in part, based on several IP addresses that

were used to access both the Discord account “Rolex#0373” and OGUsers account “Rolex,” and

based on Coinbase records associated with “Rolex.”

       51.       On October 30, 2018, an individual on the OGUsers forum asked “Rolex” to

exchange $25 in PayPal funds for $20 in Bitcoin and provided the Bitcoin address

“1PkwTmn3Eo48oLqE9w4MFckDQmgzq69u1f” (hereinafter, “1Pkw Address”) for “Rolex” to

send the funds. Based on records from Coinbase, a cryptocurrency exchange, on October 30, 2018,

an account in the name of “Nim F” sent approximately $20 to the 1Pkw Address. The “Nim F”

account was created on December 23, 2017, and was later closed (hereinafter “FAZELI Coinbase

Account 1”). Coinbase records revealed that the “Nim F” account was registered with the email

address “damniamevil20@gmail.com,” which matches the registered email address for “Rolex”

on the OGUsers forum. Additionally, the accountholder for the “Nim F” account used a Florida

driver’s license with a number ending in 300-0 and in the name of Nima FAZELI to verify the

account. According to Florida DMV officials, this driver’s license is a legitimate driver’s license

associated with Nima FAZELI. On multiple occasions, the “Nim F” account transacted with the

another Coinbase account in the name of “Nima FAZELI,” which was registered to the email

address “nimafazeli20@yahoo.com” (hereinafter, “FAZELI Coinbase Account 2”). The same

FAZELI driver’s license was used to verify FAZELI Coinbase Account 2.

       52.       Similarly, on multiple occasions between October 11, 2019, and March 17, 2020,

“Rolex”      provided   the bitcoin   address 3Aieac9YpxmWkWmRcQNUSMjDSswYxnHZps

(hereinafter, “3Aie Address”) to multiple other OGUsers accountholders in order for those

individuals to send payments or conduct money exchanges via “Rolex.” Based on records from

Coinbase, the 3Aie Address was assigned to an account in the name of “Nima FAZELI,” which

was registered to the email address “nima.fazeli@yahoo.com” (hereinafter, “FAZELI Coinbase

Account 3”). This particular account was created on June 24, 2017, and it was verified using the
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Florida driver’s license of Nima FAZELI. This driver’s license is the same license that was used

to verify FAZELI Coinbase Account 1 and FAZELI Coinbase Account 2, and, based on

information from the Florida DMV officials, it is associated with Nima FAZELI. As of July 30,

2020, the FAZELI Coinbase Account 3 had approximately 1,900 transactions totaling

approximately 21.46 Bitcoin, worth approximately $237,551 as of July 30, 2020.

       53.     The investigation   shows that the FAZELI Coinbase Account 3 and the

“Rolex#0373” Discord were accessed from the same IP addresses. These IP addresses are

104.51.181.242 and 107.145.123.179. According to a reliable public IP geolocation service named

MaxMind, IP address 104.51.181.242 is registered to AT&T based in Orlando, FL and IP address

107.145.123.179 is registered to Spectrum in Rockledge, FL.

               a.     IP address 104.51.181.242 accessed the FAZELI Coinbase Account 3 on

multiple occasions from August 5, 2019, to May 5, 2020. The same IP address was used to access

the “Rolex#0373” Discord account on multiple occasions from January 20, 2020, to July 17, 2020.

On several occasions, the same IP address was used to access both accounts on the same day

including on January 29, 2020, March 12, 2020, March 16, 2020, and May 5, 2020; and

               b.     IP address 107.145.123.179 accessed the “Rolex#0373” Discord account on

multiple occasions from February 1, 2020, to June 6, 2020. The IP address also accessed the

FAZELI Coinbase Account 3 on multiple occasions from July 4, 2019 to June 6, 2020. The IP

address accessed both accounts on March 20, 2020.

       54.     Based on my training and experience, as the FAZELI Coinbase Account 3 and the

“Rolex#0373” Discord account and the “Rolex” OGUsers account were accessed from the same

IP address on several occasions, I believe that they are controlled by the same person.

       55.     Based on the above information, and in particular that the FAZELI Coinbase

Account 2 and the FAZELI Coinbase Account 3 were registered in the name of Nima FAZELI,

and all three Coinbase accounts were established using Nima FAZELI’s driver’s license, I believe

that that FAZELI controls both the “Rolex#0373” Discord account the “Rolex” OGUsers account.
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                                        CONCLUSION

       56.     For the reasons set forth above, I believe that there is probable cause that Nima

FAZELI intentionally accessed the computer(s) of Twitter and thereby obtained information from

a protected computer, without the authorization of Twitter or applicable Twitter accountholders,

or aided and abetted others in doing so, in violation of 18 U.S.C. §§ 1030(a)(2)(C) and 2.


                                                           /s/ John Szydlik via telephone
                                                            __________________________
                                                            John Szydlik
                                                            Special Agent
                                                            United States Secret Service


       Sworn to before me over the telephone and signed by me pursuant to Fed. R. Crim. P. 4.1
                         30
       and 4(d) on this ______ day of July, 2020. This application and warrant are to be filed
       under seal.




               _______________________________________
               HONORABLE SALLIE KIM
               United States Magistrate Judge
